                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                    NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )                       ORDER
                                               )
 LEONID ISAAKOVICH TEYF                        )



       Upon motion of Defendant, it is hereby ORDERED, for good cause shown based on the

facts and reasons stated in the motion, that the Opposition of the Defendant filed at D.E. 561 in

the above-captioned matter be sealed until such time as the Court orders it unsealed.

       It is FURTHER ORDERED that the Clerk of Court make available to the parties filed

copies of the same.

       SO ORDERED.

                 8th day of April, 2020.
       This the ___



                                             Louise W. Flanagan
                                             United States District Judge




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